Case 21-30085-hdh11 Doc 112 Filed 02/04/21                 Entered 02/05/21 10:43:27           Page 1 of 16



Patrick J. Neligan, Jr.
State Bar. No. 14866000
Douglas J. Buncher
State Bar No. 03342700
John D. Gaither
State Bar No. 24055516
NELIGAN LLP
325 North St. Paul, Suite 3600
Dallas, Texas 75201
Telephone: 214-840-5333
Facsimile: 214-840-5301
pneligan@neliganlaw.com
dbuncher@neliganlaw.com
jgaither@neliganlaw.com

PROPOSED COUNSEL FOR DEBTORS

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                           §                CHAPTER 11
                                                 §
NATIONAL RIFLE ASSOCIATION                       §                CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC,                     §
                                                 §
          DEBTORS1                               §                Jointly Administered

                    DEBTORS’ MOTION TO ESTABLISH PROCEDURES
                  FOR INTERIM COMPENSATION AND REIMBURSEMENT
                        OF EXPENSES FOR CERTAIN PROFESSIONALS

           National Rifle Association of America and Sea Girt LLC (collectively, the “Debtors”)

    hereby file this Debtors’ Motion to Establish Procedures for Interim Compensation and

    Reimbursement of Expenses for Case Professionals (the “Motion”) to request the entry of an

    order, pursuant to Sections 105(a) and 331 of the Bankruptcy Code2, establishing procedures for

    interim compensation and reimbursement of expenses of professionals, and in support state as

1
  The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
2
  11 U.S.C. §§ 101, et seq. Unless otherwise indicated, all statutory references are to the Bankruptcy Code.



DEBTORS’ MOTION TO ESTABLISH PROCEDURES FOR INTERIM COMPENSATION
AND REIMBURSEMENT OF EXPENSES FOR CERTAIN PROFESSIONALS                                            PAGE1
Case 21-30085-hdh11 Doc 112 Filed 02/04/21              Entered 02/05/21 10:43:27        Page 2 of 16



 follows:

                                       Jurisdiction and Venue

            1.     This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

  1334. This is a core proceeding under 28 U.S.C. § 157(b). The Debtors consent to entry of a

  final order under Article III of the United States Constitution.

       2.        Venue is proper in this District under 28 U.S.C. §§ 1408 and 1409.

       3.        The statutory predicates for the relief requested herein are Bankruptcy Code sections

105(a) and 331, Bankruptcy Rule 2016, and Local Rule 2016-1.

                                             Background

       4.          On January 15, 2021 (the “Petition Date”), the Debtors filed their voluntary

petitions for relief under Chapter 11 of the Bankruptcy Code. The Debtors remain in possession

of their property and are operating their businesses as debtors-in-possession in accordance with

Sections 1107 and 1108 of the Bankruptcy Code.             A detailed description of the Debtors’

business, capital structure, and the events leading to the Debtors’ bankruptcy is set forth in the

Declarations of Shawne E. Soto [Docket No. 10], Robert G. Owens [Docket No. 11], and Sonya

B. Rowling [Docket No. 12] (the “First-Day Declarations”) and Debtors’ Informational Brief in

Connection with Voluntary Chapter 11 Petitions [Docket No. 31] filed on January 20, 2021,

which are incorporated herein by reference.

       5.          To date, the Debtors have filed applications seeking authority to retain: (i)

Neligan LLP (“Neligan”) as counsel; and (ii) Brewer Attorneys & Counselors (“BAC”) as

Special Counsel.

        6.       In addition to these professionals, the Debtors anticipate that they and any official




DEBTORS’ MOTION TO ESTABLISH PROCEDURES FOR INTERIM COMPENSATION
AND REIMBURSEMENT OF EXPENSES FOR CERTAIN PROFESSIONALS                                      PAGE2
Case 21-30085-hdh11 Doc 112 Filed 02/04/21                      Entered 02/05/21 10:43:27             Page 3 of 16



committee appointed in the Chapter 11 Cases (the “Committee”) will retain other professionals

pursuant to Bankruptcy Code Section 327 during the course of the Chapter 11 cases (collectively

with Neligan and BAC, the “Professionals”).3

                                                Relief Requested

        7.        Pursuant to Section 331 of the Bankruptcy Code, all professionals employed

under Section 327 are entitled to submit applications for interim compensation and

reimbursement of expenses every 120 days, or more often if the Court permits.4 As described

more specifically below, the Debtors request that the Court establish procedures, comparable to

those established in other Chapter 11 cases, for compensating and reimbursing Court-approved

Section 327 professionals every 30 days.                   Such procedures will provide more timely

compensation to estate professionals and will permit the Court and all other parties to more

effectively monitor the fees incurred.

                                             Proposed Procedures

        8.       Briefly stated, the requested procedures would require those Professionals seeking

interim compensation to serve a summary consisting of a brief statement as to the fees incurred

and the costs incurred by each Professional for the prior month upon: (i) the Debtors through their

counsel, Neligan; (ii) the Office of the United States Trustee for the Northern District of Texas;

(iii) the Committee, if a Committee is formed and appointed, through its counsel (hereinafter these

parties shall be referred to as the “Notice Parties”). The summary statements of BAC will

3
  For example, Debtors have engaged the firm of Garman Turner Gordon, LLP as additional counsel to the Debtors in
these Cases and anticipate filing an Application for approval of their employment before this Motion is heard.
4
  Because Section 331 only applies to professionals retained under Section 327, the procedure proposed in this Motion
shall only apply to such professionals. At present, the Debtors have only sought the employment of two professionals
under Section 327. The Debtors intend to apply to retain additional professionals under Section 327, both additional
special counsel that handled Second Amendment litigation pre-bankruptcy, as well as co-counsel to the Debtors to
assist Neligan as counsel to the Debtors in the bankruptcy, and such professionals would be subject to the requirements
and procedures proposed in this Motion.



DEBTORS’ MOTION TO ESTABLISH PROCEDURES FOR INTERIM COMPENSATION
AND REIMBURSEMENT OF EXPENSES FOR CERTAIN PROFESSIONALS                                                    PAGE3
Case 21-30085-hdh11 Doc 112 Filed 02/04/21                      Entered 02/05/21 10:43:27              Page 4 of 16



include the reasonable and necessary litigation expenses incurred by BAC, which include the fees

and expenses of any consulting or testifying experts used in the litigation BAC is handling for the

Debtors.5 If no party timely objects to such statements, the Debtors would be authorized to pay

80% of the professional the fees and 100% of the expenses incurred during the preceding month,

including the expert witness expenses used in the BAC Pre-Petition Litigation (as defined in the

Declaration of Michaels J. Collins (Dkt. No. 84-2, ¶2 and Schedule 1). These payments would be

subject to the Court’s subsequent approval as part of the normal interim fee application process,

approximately every 120 days.

        9.       Specifically, the Debtors propose that the monthly payment of compensation and

reimbursement of expenses of the Professionals be structured as follows:

                 a.       On or before the 10th day of each month following the month for which
                          compensation is sought, the Professionals will submit a summary consisting
                          of a brief statement as to the fees and costs incurred (the “Fee Summary”)
                          to the Notice Parties. The identity of consulting only experts in the
                          litigation BAC is handling will be redacted to protect this privileged
                          information until such time as they are disclosed as testifying experts in the
                          litigation.

                 b.       Each such party receiving a Fee Summary will have seven (7) days after its
                          receipt to review the Fee Summary. At the expiration of the seven (7) day
                          period, if no objection (as described below) is made to the Fee Summary,
                          each Professional who submitted Fee Summaries will notify the Debtors in
                          writing that no objections have been filed with regard to the Fee Summary.
                          Upon receipt of such notice in writing, the Debtors shall pay eighty (80%)
                          of the fees and one hundred (100%) of the expenses requested in the
                          Professionals’ respective Fee Summaries.

                 c.       In the event any of the Notice Parties has an objection to the compensation

5
  Expert witnesses used in litigation who are not acting as advisors to the debtor in the bankruptcy case are not
professionals under Section 327 of the Bankruptcy Code. See, e.g., In re Cyrus II Partnership, 2008 WL 3003824, at
*3-6 (Bankr. S.D. Texas 2008) (expert witnesses whose testimony does not relate to matters central to the
administration of the estate are not required to file Section 327 applications); In re Napolean, 233 B.R. 910, 913-14 &
n. 1 (noting that “most courts have come to the conclusion that there is no requirement of prior court authorization for
retention of an expert witness, because an expert witness is not a ‘professional person’ within the meaning of section
327,” and listing cases in accord); and Rather, their fees are simply reviewed as “actual, necessary expenses” under
Section 330(a)(1)(B).


DEBTORS’ MOTION TO ESTABLISH PROCEDURES FOR INTERIM COMPENSATION
AND REIMBURSEMENT OF EXPENSES FOR CERTAIN PROFESSIONALS                                                    PAGE4
Case 21-30085-hdh11 Doc 112 Filed 02/04/21          Entered 02/05/21 10:43:27        Page 5 of 16



                    or reimbursement of expenses sought in a particular Fee Summary, it shall,
                    within seven (7) days of the receipt of the Fee Summary, serve upon (i) the
                    Professional whose Fee Summary is objected to, and (ii) except to the
                    extent duplicative of the foregoing clause, the other Notice Parties, a written
                    “Notice of Objection to Fee Summary” with a statement setting forth the
                    precise nature of the objection and the amount at issue. Global objections
                    to the entirety of the Fee Summary shall not be permitted. Instead,
                    objections must identify the precise time entries and expenses that are
                    the subject of the objection and the total amount of those entries and
                    expenses that are the subject of the objection. Thereafter, the objecting
                    Notice Party or Notice Parties and the Professional whose Fee Summary is
                    objected to shall attempt to reach an agreement regarding the correct
                    payment to be made. If the parties are unable to reach an agreement on the
                    objection(s) within three (3) business days after receipt of such objection(s),
                    the Professional whose Fee Summary is objected to shall have the option of
                    (i) filing the objection(s) together with a request for payment of the
                    disputed amount with the Court, or (ii) foregoing payment of the disputed
                    amount until the next interim fee application hearing, at which time the
                    Court will consider and dispose of the objection(s) if payment of the
                    disputed amount is requested. Any objection submitted to the Court for
                    resolution shall be heard at the earlier of (i) the next omnibus hearing
                    scheduled by the Court, or (ii) such other date requested by the parties and
                    set by the Court. The Debtors will be required to pay promptly any portion
                    of the fees and expenses requested that are not the subject of a Notice of
                    Objection to Fee Summary.

             d.     The first Fee Summary shall be submitted to the Notice Parties by March
                    10, 2021 and shall cover the period from the commencement of these cases
                    through February 28, 2021. Thereafter, each Fee Summary will be due by
                    the 10th of the month following the month in which the services were
                    rendered.

             e.     Beginning on or before May 15, 2021, and approximately every four (4)
                    months thereafter, each of the professionals shall file with the Court and
                    serve on the Office of the United States Trustee and the other parties
                    identified in sub-paragraph (a) above, an application for interim Court
                    approval and allowance, pursuant to Section 331 of the compensation and
                    reimbursement of expenses requested for the prior four (4) months. Any
                    professional who fails to file an application when due shall be ineligible to
                    receive further payment of any fees or expenses under these procedures until
                    such time as the application is submitted.

             f.     The Professionals will be required to attach detailed time entries and
                    expense itemizations to their application, although such detailed time
                    entries and expense itemizations may be redacted in order to preserve and
                    protect matters protected by the attorney-client privilege, the attorney work


DEBTORS’ MOTION TO ESTABLISH PROCEDURES FOR INTERIM COMPENSATION
AND REIMBURSEMENT OF EXPENSES FOR CERTAIN PROFESSIONALS                                  PAGE5
Case 21-30085-hdh11 Doc 112 Filed 02/04/21              Entered 02/05/21 10:43:27       Page 6 of 16



                       product doctrine, the consulting expert privilege, or similar protections and
                       in the interest of not disclosing privileged communications and/or litigation
                       strategy and/or the identity, work and opinions of consulting only experts.

               g.      The pendency of an application or a Court order that payment of
                       compensation or reimbursement of expenses was improper as to a particular
                       Fee Summary shall not disqualify a Professional from the future payment of
                       compensation or reimbursement of expenses as set forth above.

               h.      Neither the payment of, nor the failure to pay, in whole or in part, monthly
                       interim compensation and reimbursement of expenses as provided herein
                       shall bind any party in interest or the Court with respect to the allowance of
                       interim or final applications for compensation and reimbursement of
                       expenses of any Professionals.

                                     Basis for Relief Requested

       10.     Section 331 provides, in relevant part, as follows:

               A trustee, an examiner, a debtor’s attorney, or any professional person
               employed under section 327 or 1103 of this title may apply to the Court
               not more than once every 120 days after an order for relief in a case under
               this title, or more often if the court permits, for such compensation for
               services rendered before the date of such an application or reimbursement
               for expenses incurred before such date as is provided under section 330 of
               this title.

Section 105(a) further provides, in relevant part, that the court may issue any order, process, or

judgment that is necessary or appropriate to carry out the provisions of this title.

       11.       The procedures set forth above procedures are needed to avoid having

professionals fund the administrative expenses of this reorganization case. See In re Int’l

Horizons, Inc., 10 B.R. 895, 897 (Bankr. N.D. Ga. 1981). Appropriate factors to consider when

approving interim compensation procedures include “the size of [the] reorganization cases, the

complexity of the issues involved, and the time required on the part of the attorneys for the

debtors in providing services necessary to achieve a successful reorganization of the debtors.” Id.

at 897-98. The Debtors submit that the procedures sought herein are appropriate considering the




DEBTORS’ MOTION TO ESTABLISH PROCEDURES FOR INTERIM COMPENSATION
AND REIMBURSEMENT OF EXPENSES FOR CERTAIN PROFESSIONALS                                     PAGE6
Case 21-30085-hdh11 Doc 112 Filed 02/04/21               Entered 02/05/21 10:43:27        Page 7 of 16



above factors.

           12.     The Debtors submit that the efficient administration of these Chapter 11 Cases

will be significantly aided by establishing the foregoing interim compensation and expense

reimbursement procedures. Accordingly, the relief requested herein is in the best interests of the

Debtors, their estates and creditors.

           WHEREFORE, the Debtors respectfully request that the Court (i) grant the Motion and

 (ii) grant such other and further relief as is just and proper.

Dated: February 4, 2021.
                                                Respectfully submitted,

                                                /s/ Patrick J. Neligan, Jr.
                                                Patrick J. Neligan, Jr.
                                                State Bar. No. 14866000
                                                Douglas J. Buncher
                                                State Bar No. 03342700
                                                John D. Gaither
                                                State Bar No. 24055516
                                                NELIGAN, LLP
                                                325 North St. Paul, Suite 3600
                                                Dallas, Texas 75201
                                                Telephone: 214-840-5333
                                                Facsimile: 214-840-5301
                                                pneligan@neliganlaw.com
                                                dbuncher@neliganlaw.com
                                                jgaither@neliganlaw.com

                                                PROPOSED COUNSEL FOR DEBTORS

                                     CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on the 4th day of February 2021 a true and correct

copy of the foregoing was served via first class U.S. mail on the parties named on the attached

Master Service List.

                                                 /s/ Douglas J. Buncher
                                                Douglas J. Buncher



DEBTORS’ MOTION TO ESTABLISH PROCEDURES FOR INTERIM COMPENSATION
AND REIMBURSEMENT OF EXPENSES FOR CERTAIN PROFESSIONALS                                      PAGE7
90430v.2
Case 21-30085-hdh11 Doc 112 Filed 02/04/21         Entered 02/05/21 10:43:27       Page 8 of 16




                           In re: Sea Girt LLC - Case No. 21-30080
               In re: National Rifle Association of America - Case No. 21-30085

                                   MASTER SERVICE LIST

                                    Debtor/Debtor’s Counsel


  National Rifle Association of America          Neligan LLP
  11250 Waples Mill Road                         Attn: Patrick J. Neligan
  Fairfax, VA 22030                                      Douglas J. Buncher
                                                         John D. Gaither
                                                 325 N. St. Paul, Suite 3600
                                                 Dallas, TX 75201
                                                 Email: pneligan@neliganlaw.com
                                                         dbuncher@neliganlaw.com
                                                         jgaither@neliganlaw.com
  Sea Girt LLC
  11250 Waples Mall Road
  Fairfax, VA 22030

                                          U.S. Trustee

  Office of the United States Trustee
  Attn: Lisa Young
  Earle Cabell Federal Building
  1100 Commerce Street, Room 976
  Dallas, TX 75242

                                        Secured Creditors

  Atlantic Union Bank
  Attn: Andrew Kalin
  1800 Robert Fulton Drive, Suite 100
  Reston, VA 20191
  Email: andrew.kalin@atlanticunionbank.com

                                20 Largest Unsecured Creditors

  Ackerman McQueen, Inc.                         Membership Marketing Partners LLC
  1601 Northwest Expressway                      11250 Waples Mill Road, Suite 310
  Oklahoma City, OK 73118-1438                   Fairfax, VA 22030




 90324v1
Case 21-30085-hdh11 Doc 112 Filed 02/04/21         Entered 02/05/21 10:43:27       Page 9 of 16




  Gould Paper Corporation                        Infocision Management Corp.
  Attn: Warren Connor                            325 Springside Drive
  99 Park Avenue, 10th Floor                     Akron, OH 44333
  New York, NY 10016

  Under Wild Skies                               Valtim Incorporated
  201 N. Union Street, Suite 510                 P.O. Box 114
  Alexandria, VA 22314                           Forest, VA 24551

  Quadgraphics                                   Communications Corp of America
  N63W23075 Hwy. 74                              Attn: Judy Reid
  Sussex, WI 53089                               13195 Freedom Way
                                                 Boston, VA 22713

  Membership Advisors Public REL                 Salesforce.Com, Inc.
  11250 Waples Mill Road, Suite 310              One Mark St. – The Landmark, Suite 300
  Fairfax, VA 22030                              San Francisco, CA 94105

  Mercury Group                                  Speedway Motorsports, Inc.
  1601 NW Expressway, Suite 1100                 P.O. Box 600
  Oklahoma City, OK 73118                        Concord, NC 28026

  Image Direct Group LLC                         Google
  200 Monroe Avenue, Building 4                  1600 Amphitheatre Parkway
  Frederick, MD 21701                            Mountain View, CA 94043-1351

  TMA Direct, Inc.                               United Parcel Services
  12021 Sunset Hills Road, Suite 350             P.O. Box 7247-0244
  Manassas, VA 20109                             Philadelphia, PA 19170

  Membership Advisors Fund Raising               Stone River Gear, LLC
  11250 Waples Mill Road, Suite 310              P.O. Box 67
  Fairfax, VA 22030                              Bethel, CT 06801

  Krueger Associates, Inc.                       CDW Computer Centers, Inc.
  105 Commerce Drive                             P.O. Box 75723
  Aston, PA 19014                                Chicago, IL 60675

                                       Government Agencies


  Internal Revenue Service                       Office of Attorney General (NY)
  P.O. Box 7346                                  Attn: Letitia James
  Philadelphia, PA 19101-7346                    28 Liberty Street
                                                 New York, NY 10005




 90324v1
Case 21-30085-hdh11 Doc 112 Filed 02/04/21      Entered 02/05/21 10:43:27       Page 10 of 16




  Office of Attorney General (DC)             Office of Attorney General (TX)
  Attn: Karl A. Racine                        Attn: Ken Paxton
  441 Fourth St., N.W., Suite 600-South       P.O. Box 12548
  Washington, DC 20001                        Austin, TX 78711-2548

  Mahmooth A. Faheem
  Lori A. Butler
  Pension Benefit Guaranty Corporation
  1200 K NW
  Washington, DC 20005-4026
  mahmooth.faheem@pbgc.gov
  butler.lori@pbgc.gov
  efile@pbgc.gov

                                    Notice of Appearance


  Laurie A. Spindler                          G. Michael Gruber
  Linebarger Coggan Blair & Sampson, LLP      Dorsey & Whitney LLP
  2777 N. Stemmons Freeway, Suite 1000        300 Crescent Court, Suite 400
  Dallas, TX 75207                            Dallas, TX 75201
  dallas.bankruptcy@publicans.com             gruber.mike@dorsey.com

  Brian E. Mason                              H. Joseph Acosta
  Dorsey & Whitney LLP                        Dorsey & Whitney LLP
  300 Crescent Court, Suite 400               300 Crescent Court, Suite 400
  Dallas, TX 75201                            Dallas, TX 75201
  mason.brian@dorsey.com                      acosta.joseph@dorsey.com

  Natalie L. Arbaugh                          Thomas M. Buchanan
  Winston & Strawn LLP                        Matthew Saxon
  2121 N. Pearl Street, Suite 900             Winston & Strawn LLP
  Dallas, TX 75201                            1901 L St., N.W.
  narbaugh@winston.com                        Washington, DC 20036
                                              tbuchana@winston.com
                                              msaxon@winston.com

  David Neier                                 Tara LeDay
  Winston & Strawn LLP                        McCreary, Veselka, Bragg & Allen, P.C.
  200 Park Avenue                             P.O. Box 1269
  New York, NY 10166-4193                     Round Rock, TX 78680
  dneier@winston.com                          tleday@mvbalaw.com




 90324v1
Case 21-30085-hdh11 Doc 112 Filed 02/04/21     Entered 02/05/21 10:43:27      Page 11 of 16




  Michael I. Baird                           Brandon R. Freud
  Pension Benefit Guaranty Corporation       Chuhak & Tecson, P.C.
  1200 K St. NW                              30 S. Wacker Drive, Suite 2600
  Washington, DC 20005-4026                  Chicago, IL 60606
  baird.michael@pbgc.gov                     bfreud@chuhak.com
  efile@pbgc.gov

  Mark Ralston                               Kevin T. White
  Fishman Jackson Ronquillo PLLC             Director – Legal
  Three Galleria Tower                       Quad/Graphics, Inc.
  13155 Noel Road, Suite 700                 601 Silveron Blvd., Suite 200
  Dallas, TX 75240                           Flower Mound, TX 75028
  mralston@fjrpllc.com                       ktwhite@quad.com

  Robert Lapowsky                            David W. Giattino
  Stevens & Lee, P.C.                        Stevens & Lee, P.C.
  620 Freedom Business Center, Suite 200     919 Market Street, Suite 1300
  King of Prussia, PA 19406                  Wilmington, DE 19801
  rl@stevenslee.com                          dwg@stevenslee.com

  Joe E. Marshall                            Duane M. Geck
  Marshall Law                               Donald H. Cram
  2626 Cole Avenue, Suite 300                Severson & Werson, P.C.
  Dallas, TX 75204                           One Embarcadero Center, Suite 2600
  jmarshall@marshalllaw.net                  San Francisco, CA 94111
                                             dmg@severson.com
                                             dhc@severson.com




 90324v1
Case 21-30085-hdh11 Doc 112 Filed 02/04/21                 Entered 02/05/21 10:43:27           Page 12 of 16




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 IN RE:                                            §               CHAPTER 11
                                                   §
 NATIONAL RIFLE ASSOCIATION                        §               CASE NO. 21-30085-hdh11
 OF AMERICA and SEA GIRT LLC,                      §
                                                   §
            DEBTORS1                               §               Jointly Administered


            ORDER GRANTING DEBTORS’ MOTION TO ESTABLISH PROCEDURES
                FOR INTERIM COMPENSATION AND REIMBURSEMENT OF
                        EXPENSES FOR CASE PROFESSIONALS

            Upon the Debtors’ Motion to Establish Procedures for Interim Compensation and

 Reimbursement for Certain Professionals (the “Motion”) of National Rifle Association of

 America and Sea Girt LLC (collectively, the “Debtors”); and the Court having jurisdiction to

 consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and

 1
   The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
 Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


 ORDER GRANTING DEBTORS’ MOTION TO ESTABLISH PROCEDURES FOR
 INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR CASE PROFESSIONALS                           PAGE 1
 90428v1
 90428V.2
Case 21-30085-hdh11 Doc 112 Filed 02/04/21                 Entered 02/05/21 10:43:27           Page 13 of 16


 consideration of the Motion and the requested relief being a core proceeding pursuant to 28 U.S.C. §

 157(b); and it appearing that venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409;

 and due and proper notice of the Motion having been provided, and it appearing that no other or further

 notice need be provided; and the Court having reviewed the Motion; and the Court having held a hearing

 on the Motion; and all objections, if any, to the Motion have been withdrawn, resolved, or overruled; and

 the Court having determined that the legal and factual bases set forth in the Motion establish just cause for

 the relief granted herein; and upon all of the proceedings had before the Court and after due deliberation

 and sufficient cause appearing therefor,

 IT IS HEREBY ORDERED THAT:

            1.   The Motion is GRANTED.

            2.   Except as may otherwise be provided in Court orders authorizing the retention of

 specific professionals, all Professionals (as defined in the Motion) may seek interim compensation

 in accordance with the following procedures:

            a.   Except as noted below, on or before the 10th day of each month following
                 the month for which compensation is sought, the Professionals will submit
                 a summary consisting of a brief statement as to the fees and expenses
                 incurred (the “Fee Summary”) to the Notice Parties. The summary
                 statements of BAC will include the reasonable and necessary litigation
                 expenses incurred by BAC, which include the fees and expenses of any
                 consulting or testifying experts used in the litigation BAC is handling for
                 the Debtors. The identity of consulting only experts in the litigation BAC
                 is handling will be redacted to protect this privileged information until
                 such time as they are disclosed as testifying experts in the litigation.

            b.   The first Fee Summary shall be submitted to the Notice Parties by the
                 March 10, 2021 and shall cover the period from the commencement of
                 these cases through February 28, 2021.

            c.   Each such party receiving a Fee Summary will have seven (7) days after
                 its receipt to review the Fee Summary. At the expiration of the seven (7) -
                 day period, if no objection (as described below) is made to the Fee
                 Summary, each Professional who submitted Fee Summaries will notify the
                 Debtors in writing that no objections have been filed with regard to the
                 Fee Summary. Upon receipt of such notice in writing, the Debtors shall


 ORDER GRANTING DEBTORS’ MOTION TO ESTABLISH PROCEDURES FOR
 INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR CASE PROFESSIONALS                          PAGE 2
 90428v1
 90428V.2
Case 21-30085-hdh11 Doc 112 Filed 02/04/21                Entered 02/05/21 10:43:27           Page 14 of 16


                 pay eighty (80%) of the fees and one hundred (100%) of the expenses
                 requested in the Professionals’ respective Fee Summaries.

            d.   In the event any of the Notice Parties has an objection to the compensation
                 or reimbursement of expenses sought in a particular Fee Summary, it
                 shall, within seven (7) days of the receipt of the Fee Summary, serve upon
                 (i) the Professional whose Fee Summary is objected to, and (ii) except to
                 the extent duplicative of the foregoing clause, the other Notice Parties, a
                 written “Notice of Objection to Fee Summary” with a statement setting
                 forth the precise nature of the objection and the amount at issue. Global
                 objections to the entirety of the Fee Summary shall not be permitted.
                 Instead, objections must identify the precise time entries and expenses
                 that are the subject of the objection and the total amount of those
                 entries and expenses that are the subject of the objection. Thereafter,
                 the objecting Notice Party or Notice Parties and the Professional whose Fee
                 Summary is objected to shall attempt to reach an agreement regarding the correct
                 payment to be made. If the parties are unable to reach an agreement on the
                 objection(s) within three (3) business days after receipt of such objection(s), the
                 Professional whose Fee Summary is objected to shall have the option of (i) filing
                 the objection(s) together with a request for payment of the disputed amount with
                 the Court, or (ii) foregoing payment of the disputed amount until the next interim
                 fee application hearing, at which time the Court will consider and dispose of the
                 objection(s) if payment of the disputed amount is requested. Any objection
                 submitted to the Court for resolution shall be heard at the earlier of (i) the
                 next omnibus hearing scheduled by the Court, or (ii) such other date
                 requested by the parties and set by the Court. The Debtors will be required
                 to pay promptly any portion of the fees and disbursements requested that are not
                 the subject of a Notice of Objection to Fee Summary.

            e.   Beginning on or before May 15, 2021, and approximately every four (4)
                 months thereafter, each of the professionals shall file with the Court and
                 serve on the Office of the United States Trustee and the other parties
                 identified in sub-paragraph (a) above, an application for interim Court
                 approval and allowance, pursuant to Section 331 of the Bankruptcy Code,
                 of the compensation and reimbursement of expenses requested for the
                 prior four (4) months. Any professional who fails to file an application
                 when due shall be ineligible to receive further payment of any fees or
                 expenses under these procedures until such time as the application is
                 submitted.

            f.   The Professionals will be required to attach detailed time entries and
                 expense itemizations to their application, although such detailed time
                 entries and expense itemizations may be redacted in order to preserve and
                 protect matters protected by the attorney-client privilege, the attorney
                 work product doctrine, the consulting expert privilege, or similar
                 protections and in the interest of not disclosing privileged communications



 ORDER GRANTING DEBTORS’ MOTION TO ESTABLISH PROCEDURES FOR
 INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR CASE PROFESSIONALS                         PAGE 3
 90428v1
 90428V.2
Case 21-30085-hdh11 Doc 112 Filed 02/04/21              Entered 02/05/21 10:43:27          Page 15 of 16


                 and/or litigation strategy and/or the identity, work and opinions of
                 consulting only experts..

            g.   The pendency of an application or a Court order that payment of
                 compensation or reimbursement of expenses was improper as to a
                 particular Fee Summary shall not disqualify a Professional from the future
                 payment of compensation or reimbursement of expenses as set forth
                 above.

            a.   Neither the payment of, nor the failure to pay, in whole or in part, monthly
                 interim compensation and reimbursement of expenses as provided herein
                 shall bind any party in interest or the Court with respect to the allowance of
                 interim or final applications for compensation and reimbursement of expenses of
                 any Professionals.

            3.   The submission of the detailed time entries to the Notice Parties and the contents

 thereof shall remain confidential and shall not be disseminated by the Notice Parties to any party

 without further order of this Court and the act of submitting such detail shall not constitute a

 waiver of the attorney-client privilege, the attorney work product doctrine or the privilege

 protecting the identity, work and opinions of consulting-only experts. The Notice Parties reserve

 any and all rights to review the fees and expenses of Professionals set forth in interim

 applications, and it is not necessary for the Notice Parties to file objections to the monthly Fee

 Summaries to reserve those rights.

            4.   This Court shall retain jurisdiction with respect to all matters relating to the

 interpretation or implementation of this Order.

                                    # # # END OF ORDER # # #




 ORDER GRANTING DEBTORS’ MOTION TO ESTABLISH PROCEDURES FOR
 INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR CASE PROFESSIONALS                         PAGE 4
 90428v1
 90428V.2
Case 21-30085-hdh11 Doc 112 Filed 02/04/21        Entered 02/05/21 10:43:27   Page 16 of 16




 Submitted by:

 Patrick J. Neligan, Jr.
 State Bar. No. 14866000
 Douglas J. Buncher
 State Bar No. 03342700
 John D. Gaither
 State Bar No. 24055516
 NELIGAN LLP
 325 North St. Paul, Suite 3600
 Dallas, Texas 75201
 Telephone: 214-840-5333
 Facsimile: 214-840-5301
 pneligan@neliganlaw.com
 dbuncher@neliganlaw.com
 jgaither@neliganlaw.com

  PROPOSED ATTORNEYS FOR DEBTORS




 ORDER GRANTING DEBTORS’ MOTION TO ESTABLISH PROCEDURES FOR
 INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR CASE PROFESSIONALS       PAGE 5
 90428v1
 90428V.2
